Case 21-10514-SLM               Doc 36        Filed 03/25/21 Entered 03/25/21 16:44:26           Desc Main
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UNITED STATES BANKRUPTCY COURT
DISTRICT OF NEW JERSEY
Caption in Compliance with D.N.J. LBR 9004-1(b)
GENOVA BURNS, LLC                                                        Order Filed on March 25, 2021
110 Allen Road, Suite 304                                                by Clerk,
                                                                         U.S. Bankruptcy Court
Basking Ridge, New Jersey 07920                                          District of New Jersey
Tele: (973) 467-2700 / Fax: (973) 467-8126
Counsel for Donald V. Biase, Chapter 7 Trustee
SCOTT S. REVER (SR 1425)

                                                            Case No.: 21-10514 SLM
In Re:
                                                            Honorable Stacey L. Meisel
STEPHEN NORMAN WEISS,
                                                            Chapter: 7
                                       Debtor.


                CONSENT ORDER EXTENDING THE DEADLINE TO OBJECT
                          TO THE DEBTOR’S DISCHARGE



         The relief set forth on the following page, numbered two (2) is hereby ORDERED.




DATED: March 25, 2021
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(Page 2)
Debtor:                Stephen Norman Weiss
Case no.:              21-10514 SLM
Caption of Order:      Consent Order Extending the Deadline to Object to the
                       Debtor’s Discharge

______________________________________________________________________________

       THIS MATTER having been opened to the Court upon the application filed by Donald V.

Biase, the Chapter 7 Trustee (“Trustee”) in the above referenced bankruptcy case, seeking the entry

of a Consent Order extending the deadline to object to the Debtor’s discharge and the Court having

considered the application; and for good cause shown, it is hereby

       ORDERED, that the last date for the Trustee to file an objection to the Debtor’s discharge

under Section 727 and the Federal Rules of Bankruptcy Procedure applicable to said section is

extended until June 22, 2021.

I hereby consent to the form and entry of the above Order.



/s/ TURNER FALK, ESQ.
TURNER FALK, ESQ.
OBERMAYER REBMANN MAXWELL & HIPPEL
Attorneys for Debtor



/S/ SCOTT S. REVER, ESQ.
SCOTT S. REVER, ESQ.
GENOVA BURNS, LLC
Attorneys for Donald V. Biase, Chapter 7 Trustee
